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 8                               UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

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11    JIM BASS HOLDEN,                                Case No. 2:13-cv-00668-JCM-EJY
12                      Petitioner,                   ORDER
13           v.
14    WARDEN DWIGHT NEVINS, et al.,
15                      Respondents.
16

17          Respondents having filed a motion for an extension of time (first request) (ECF No. 101),

18   and good cause appearing;

19          IT THEREFORE IS ORDERED that respondents' motion for an extension of time (first

20   request) (ECF No. 101) is GRANTED. Respondents will have up to and including September 8,

21   2020, to file an answer to the remaining claims in the second amended petition (ECF No. 88).

22          DATED: August 5, 2020.
23                                                              ______________________________
                                                                JAMES C. MAHAN
24                                                              United States District Judge
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